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                                                               U .S . GIST CDUR T
                  UNITED STATES DISTRICT COURT                               DIV.

                  SOUTHERN DISTRICT OF GEORGIA 1,001 AUG 21 , P 2: 05 1

                         SAVANNAH DIVISION



UNITED STATES OF AMERICA, )

     Plaintiff,

v.   )       Case                   No . CR407-223

GEORGE MICHAEL MLAY, )

     Defendant .


                               ORDER

     Defendant's motion for reconsideration of the pretrial detention

order is DENIED .

     SO ORDERED this day of August, 2007.




                                        UNITED SPATES MAGISTRATE JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA
